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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      3. Jonathan Yioulos

        Defendant.


      THE UNITED STATES OF AMERICA’S MOTION TO DISMISS COUNTS


        The United States of America moves to dismiss counts 2 - 38 and 40 of the

 Indictment against defendant Jonathan Yioulos immediately following the

 imposition of sentence and the entry of judgment against him, as contemplated by

 the parties’ plea agreement. ECF No. 155.

        Dated this 22nd day of November, 2024.

                                       MATTHEW T. KIRSCH
                                       Acting United States Attorney

                                       By: /s/ Bryan Fields
                                       Bryan Fields
                                       Assistant United States Attorney
                                       U.S. Attorney’s Office
                                       1801 California St. Suite 1600
                                       Denver, CO 80202
                                       (303) 454-0100
                                       Bryan.Fields3@usdoj.gov
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 Certification of Type-Volume Limitation

        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).

                                                   /s Bryan Fields
                                                   Bryan Fields

 Statement of Speedy Trial Impact

       Pursuant to Judge Domenico’s Practice Standard III(C), the government notes
 that this motion will not affect the speedy trial clock in this case because the
 defendant has already pleaded guilty.




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                           CERTIFICATE OF SERVICE

       I certify that on this 22nd day of November, 2024, I electronically filed the
   foregoing with the Clerk of the Court using the CM/ECF system which will send
   notification of such filing to all counsel of record in this case


                                               s/ Bryan Fields
                                               Bryan Fields
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                           CERTIFICATE OF SERVICE

 I hereby certify that on this 22nd day of November, 2024, I electronically filed the
 foregoing with the Clerk of Court using the CM/ECF system which will send
 notification of such filing to all e-mail addresses of record.


                                  By: s/Bryan Fields
                                      Assistant U.S. Attorney




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